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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

                                        )      FILED UNDER SEAL
UNITED STATES OF AMERICA                )
                                        )      No. 1:19-cr-59
v.                                      )
                                        )      Hon. Liam O’Grady
DANIEL EVERETTE HALE,                   )
                                        )
      Defendant.                        )      Sentencing: July 27, 2021


                    DEFENSE POSITION ON SENTENCING

       Mr. Hale is before the Court for sentencing, having fully and candidly

acknowledged that he provided classified documents to a reporter. He committed

that offense out of a deeply-felt belief that the American people needed to know a

truth that was being obscured from them by government secrecy and, worse, by false

statements from political leadership. Mr. Hale’s participation in the drone program

had caused him an irreconcilable moral conflict—the knowledge that he had

participated in lethal actions that were described to the public as surgical and precise

when he believed from his own experience that drones were indiscriminately killing

civilians. He felt extraordinary guilt for having been complicit in what he viewed as

unjustifiable killings. As Dr. Lynch (a psychologist and retired Lieutenant Colonel)

explains in his separate report submitted under seal, it was this guilt, combined with

Mr. Hale’s serious underlying mental health conditions—which the government had

diagnosed before sending him to Afghanistan—that led Mr. Hale to print and release

documents about the drone program, in part to inform the public and in part to atone

for what he perceived as his own immoral conduct.
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      In short, Mr. Hale engaged in a crime of conscience. Whether one agrees with

his reasoning or not, there can be no serious claim that he committed the offense to

harm the United States or to seek fame or fortune. Rather, he wanted to assuage his

guilt and inform his fellow citizens in hopes of making America live up to its

aspirations.   Informing the public by disclosing documents about the drone

program—even though he knew it was illegal to do so—was the only solution he could

think of to accomplish those goals. Nonetheless, he acknowledges that he committed

a crime and accepts that there are consequences. Given the unique facts of this

case—including Mr. Hale’s lifelong struggles with mental health, the seven years

during which he has lived and deteriorated under the cloud of this case, the absence

of any harm caused by his disclosures, and the sentences imposed in other “leak”

prosecutions of journalist sources—Mr. Hale submits that a sentence in the range of

12 to 18 months is appropriate.

I.    The Factual Background of Mr. Hale’s Case

      In 2009, motivated by financial distress and a lack of options, Daniel Hale

enlisted in the U.S. Air Force from the small Tennessee town where he grew up. He

did so despite trepidation about his personal safety and the political aims of the two

wars in which the nation was then engaged. Mr. Hale scored high on the entrance

test, and was rerouted into language and intelligence training. As a result, he was

issued a security clearance. Two and a half years into his service, Mr. Hale deployed

to Afghanistan.   He was an signals intelligence analyst.      See Daniel Hale Ltr.,

attached as Exhibit A. His job involved locating targets for drone strikes.



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      At his computer on Bagram Air Base, Mr. Hale could watch the targeted

killings unfold far away. He followed orders, but he was unsettled by the lack of

connection between the people he watched on his screen and any imminent threat to

himself or others. It was not what he had grown up thinking war was: A battle in

which you shoot to protect yourself and others. This was so removed from the heat

of war that Mr. Hale found it cold and calculating and, maybe worse, desensitizing.

Nonetheless, he kept his head down and did his job—and by all reports did so

competently and professionally. His deployment ended in August 2012. His service

term would be up in July 2013.

      But, long after he left Afghanistan, what he did there ate at him. In his post-

deployment health assessment, he denied any trauma from the experience. See

Report of Dr. Michael Lynch, Lt. Col. US Army (Ret.), attached under seal as Exhibit

B. But it wasn’t true: this was what servicemembers were then advised to say to

avoid career repercussions. Id. at 2. In fact, the military knew before deploying Mr.

Hale to Afghanistan that he had a history of mental health struggles,

                          . Id. at 4-5.   After his deployment, Mr. Hale spoke out as

a peace activist and applied to attend college in New York. He was waiting to hear

back from the school when he got a different, unexpected call: A defense contractor

needed to hire an analyst with a security clearance. The job paid $80,000 a year, a

sum Mr. Hale could not turn down; in fact, it was more than anyone he knew was

making. He accepted, planning to leave in six months to attend college (which he

eventually did). PSR ¶ 115.



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      As he continued to work in the intelligence field, Mr. Hale began ruminating

on the victims of the drone strikes in which he had participated. He could not

reconcile his conduct in Afghanistan with his rigid sense of right and wrong. Mr.

Hale had become acquainted with a reporter he admired at a prominent online news

outlet, with whom he stayed in touch. While a contractor at the NGA, Mr. Hale

reached an internal breaking point in 2014. In his letter (Exhibit A), he pinpoints

the moment this occurred: an after-work gathering with respected peers that

devolved into watching drone strikes as a form of entertainment.            Mr. Hale

determined that he could obtain documents through his job that would shed light on

the imprecision of what were publicly touted as surgical strikes; then he reached out

to the reporter to let him know what he had found. In all, Mr. Hale disclosed 17

documents to the reporter, who published them in a series of news articles. See

Superseding Indictment, Dkt. No. 12, ¶ 32. Of those 17 documents, eight were

classified “Secret” and three were classified “Top Secret.” See id. The other six were

unclassified. See id.

      Mr. Hale knew it was illegal to disclose classified documents to someone not

entitled to receive the information, as the reporter was not. He also knew that

eventually he would probably be discovered. He left the Leidos job when his plans to

attend the New School in New York solidified. His home was searched on the same

day in August 2014 that he left to attend school. After the search, he waited to be

arrested, but that did not come for five years.




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          The documents Mr. Hale disclosed made headlines and affected public

 discourse around drone strikes, providing a counterpoint to administration claims

 that the killings were surgical and aimed only at identified enemy combatants. See,

 e.g., Conor Friedersdorf, Obama’s Weak Defense of His Record on Drone Killings, The

 Atlantic (Dec. 23, 2016). 1 Although the classification level of the Secret and Top

 Secret documents predicted serious or exceptionally grave harm to national security

 if the information was disclosed, the government has not identified any actual harm

 that occurred as a result of the information’s release, as it admitted at the June 25,

 2021, hearing on the subject. See also generally Govt Response to Def. Motion to

 Compel Evidence of Actual Harm, Dkt. No. 211. Moreover, given the well-established

 policy of conducting damage assessments when damage occurs from an unauthorized

 disclosure, the absence of any such assessment indicates that no damage in fact

 occurred.

II.       Procedural History

          Mr. Hale’s last day at Leidos was August 8, 2014. That same day, the FBI

 raided his Northern Virginia home and took, among other things, all of his electronic

 devices. Mr. Hale moved to New York, but the stress of the FBI raid and what would

 happen to him weighed heavily on him. PSR ¶ 115. He failed out of school. But then,

 nearly five years passed and no charges were announced. See Defense Classified

 Appendix 1 (filed contemporaneously with the CISO). It would not be until May 2019,


 1                      Available                      online                       at
 <https://www.theatlantic.com/politics/archive/2016/12/president-obamas-weak-
 defense-of-his-record-on-drone-strikes/511454/>.

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after a change in administration and in relevant supervisory personnel within the

Department of Justice, that prosecutors received approval to seek an indictment. Id.

Mr. Hale was then arrested at his home in Nashville, where he had moved.

      On May 9, 2019, Mr. Hale made his initial appearance in the Middle District

of Tennessee and was released on conditions. He was also ordered to appear in the

Eastern District of Virginia on May 17, 2019, which he did. This Court continued Mr.

Hale’s release on the same conditions. Following a status conference, this Court set

a jury trial for December 16, 2019.

      Thereafter, however, the parties jointly filed a scheduling order to

accommodate CIPA litigation; as a result, the trial was reset to March 16, 2020. See

Order, Dkt. No. 66. But because CIPA proceedings took longer than anticipated, the

Court granted the parties’ joint motion to reset the schedule, and trial was continued

to June 22, 2020. See Dkt. Nos. 121 & 122.

      Of course, just a few weeks later, the Covid-19 pandemic swept the country

and people were ordered to remain home. Counsel’s offices shut down. This Court

ceased convening jury trials for a period of months. The June 22 jury trial was

vacated, see Dkt. No. 134, and later reset to December 1, 2020, see Dkt. No. 135. In

November 2020, the defense moved to continue the trial in light of the continuing

impacts of Covid-19 and newly received discovery from the government. See Dkt. No.

156. This Court granted that motion in part, resetting the trial to December 7, 2020.

But a week later, the impacts of Covid-19 once again resulted in a cessation of jury

trials so Mr. Hale’s trial was again delayed to April 5, 2021.



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        On March 30, 2021, Mr. Hale notified the Court of his intention to plead guilty

  to Count 2 of the superseding indictment. The following day, Mr. Hale pled guilty to

  violating 18 U.S.C. § 793(e), as described in a statement of facts admitted to in open

  court and filed on the public docket. Dkt. Nos. 196 & 197. Mr. Hale did not have a

  written plea agreement with the government, but his Statement of Facts effectively

  admitted to the entire course of conduct with which he had been charged. See Dkt.

  No. 197. It acknowledged that the documents Mr. Hale released were classified

  Secret and Top Secret and, thus, the assumed risk of releasing such documents. See

  Dkt. No. 197 ¶ 5.

        At the plea hearing, the Court asked if the government intended to dismiss the

  remaining four counts of the superseding indictment or to proceed to trial as

  scheduled on April 5. The government declined to dismiss the remaining counts but

  also declined to proceed to trial as scheduled; the defense objected to leaving the

  counts pending. At the very latest, the speedy trial clock in this case ran out on the

  remaining four counts on June 14, 2021, 70 days from the April 5 trial date. See 18

  U.S.C. § 3161(c)(1).

        At the plea hearing, the parties agreed that the Guidelines likely were not

  affected by the number of counts of conviction. This Court ordered a presentence

  investigation and sentencing is now set for July 27, 2021.

III.    Legal Standard

        This Court’s primary directive at sentencing is to “impose a sentence sufficient,

  but not greater than necessary, to comply with the purposes” of sentencing—that is,

  the minimum amount necessary.        18 U.S.C. § 3553(a) (emphasis added).        The
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 Sentencing Guidelines are just that, guidelines. See United States v. Booker, 543 U.S.

 220, 259-60 (2005). Moreover, the Guidelines are only one of more than a half-dozen

 statutory sentencing factors enumerated in 18 U.S.C. § 3553(a) that this Court must

 take into consideration in fashioning the appropriate sentence. 2

IV.       Mr. Hale’s Personal History

          Mr. Hale’s childhood and the lessons imparted by an

                                                                                     —

 left Mr. Hale particularly ill-suited for the military, and ill-equipped to manage the

 type of “moral injury” that can result from military service: That is, according to the

 Department of Veteran’s Affairs, where a person’s deep-seated sense of right and

 wrong is incompatible with an act that he has undertaken. 3 Indeed, had the military

 known Mr. Hale’s mental health history before enlisting him, he almost certainly

 would not have been accepted, and had the military heeded the information it had




 2 Those factors include: (a) the nature and circumstances of the offense and the
 history and characteristics of the defendant, (b) the kinds of sentences available, (c)
 the guideline range, (d) the need to avoid unwarranted sentencing disparities, (e) the
 need for restitution, and (f) the need for the sentence to reflect the following: the
 seriousness of the offense, to promote respect for the law and to provide just
 punishment for the offense, to afford adequate deterrence, to protect the public from
 further crimes of the defendant and to provide the defendant with needed educational
 or vocational training, medical care, or other correctional treatment. See 18 U.S.C. §
 3553(a).
 3 See Dept. of Veteran’s Affairs, PTSD: National Ctr. for PTSD, Moral Injury,
 available    at     www.ptsd.va.gov/professional/treat/cooccurring/moral_injury.asp
 (describing moral injury as when a person “perpetrate[s], fail[s] to prevent, or
 witness[es] events that contradict deeply held moral beliefs and expectations”).

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and sense of right and wrong.” Ruth Bray Ltr. (Exhibit C). That firm moral compass

is mentioned by both of Mr. Hale’s parents, too: “I said all of this to try to explain to

the court that Daniel’s attitude towards injustice to be based in Christian values

weather he acknowledges it or not.” Robert Hale Ltr. (Exhibit C). “I understand why

he did what he did in Daniel’s Mind he knew it was wrong to kill innocent people if a

person sees something and knows in their heart and mind, it’s wrong then why

shouldn’t they speak out about it.” Becky Hale Ltr. (Exhibit C). Mr. Hale’s friends

have seen that unequivocal morality in his everyday life, too. See, e.g., Ltrs. of Brad

White (“Daniel, although largely apolitical, always carried with him a strong moral

sense of duty and fairness.”); Megan Blevins (describing Mr. Hale speaking out at

work on behalf of employees not being paid fairly, “[h]e said this caused problems for

him at work, but he did it anyway because he thought it was the right thing to do”);

Amy Davis (“For Daniel, speaking up is the only option.”); Jess Radack (“Daniel . . .

has a strong moral conscience. I think he finds himself in the present circumstances

because of an overabundance of these traits.”) (all attached in Exhibit C).

      B.     Mental Health




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       After high school, Mr. Hale struggled to find a path out of Bristol. See Ltrs. of

Sarah Jones (describing limited opportunities in their hometown and Daniel’s desire,

like her own, to find his place in the world); Brad White (describing “shared ambitions

and desire to see and do good in the world”). He attempted college, matriculating to

the University of Virginia at Wise, but he could not engage successfully. His sister

describes Daniel’s initial pride at attending university when the family visited him.

See Ltr. of Ruth Bray (Exhibit C). But, as with so many things in the young Mr.

Hale’s life,

                               . See id.

       Mr. Hale returned to Bristol after failing out of UVA-Wise. He worked as a

general laborer and lived at home. He made an aborted attempt at a fresh start in

Las Vegas. Ruth recalls Daniel isolating himself from the family, trying to stay out

of the home as much as he could




                            Ultimately, he was floating from couch to couch or staying

in his car and decided on the military as his best path forward. Mr. Hale met with a

recruiter, trepidatious because of the nation’s involvement in two wars at the time.

PSR ¶ 114. He did not disclose his past mental health struggles, knowing that doing

so would almost certainly have disqualified him. When his father kicked him out of



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the house after an argument, Mr. Hale enlisted. He scored highly on the entrance

exam and was funneled into intelligence work. PSR ¶ 114.

      C.       Military Service

      The first three years of Mr. Hale’s service were relatively quiet. He trained at

a military language program in Monterrey, California. He worked for a time in an

Air Force dental office in Maryland, while waiting for the security clearance process

to complete. But in 2012, Mr. Hale was deployed to Bagram Air Base in Afghanistan.

Mr. Hale was tasked as a signals intelligence analyst. PSR ¶ 114. In his own words,

his job was helping identify targets for potential drone strike. See Daniel Hale Ltr.

(Exhibit A).

      During his time in the military, Mr. Hale’s mental health had ebbed and

flowed.




      Mr. Hale’s qualms about the war he had volunteered for began to overwhelm

him during his deployment. He struggled to accept the uncertainty of killing targets

who were not returning fire and, therefore, not clearly the enemy. See Ltr. of Sonia

Kennebeck (quoting Mr. Hale’s narration in the documentary National Bird: “The

most disturbing thing about my involvement in drones is the uncertainty if anybody

that I was involved in ‘kill or capture’ was a civilian or not.”) (Exhibit C). He struggled
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with the dissonance of identifying a teenager or farmer as an enemy fighter from the

relative safety of a computer and office chair. PSR ¶¶ 121 & 122. He wrestled to

reconcile the killing in which he participated with his view that the conduct was

morally wrong because of the collateral damage inflicted on innocent civilians as well

as the lack of clear evidence that the targets were truly threats. PSR ¶ 121



               ). See also Ltrs. of Sarah Jones (“He was obviously conflicted about his

time in the Air Force, and was upset at what he’d been asked to do.”); Janet Tran

(“Since the day that he left Afghanistan, he has struggled to reconcile his

participation in war.”) (Exhibit C).

      For Mr. Hale, drone killings were too remote to impart the type of certainty

about the target’s hostility to the U.S. and its interest. See



                              . To Mr. Hale, a young man standing in a field with a

Kalashnikov might be an enemy fighter, or he might be a farmer armed to protect his

property and family in a hostile country. Mr. Hale struggled to justify in his own

mind the targeting of teenagers, who would have been toddlers on 9/11. He could not

justify the unintended civilian deaths as collateral damage. See, e.g., Ltr. Stefania

Maurizi (describing drone strike that killed two aid workers, apparently by accident),

attached as part of Exhibit D.         He was also troubled by the United States’

classification of many of those deaths as combatants simply on the basis of their age

and gender.



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      Mr. Hale returned from Afghanistan in August 2012. In early 2013, after his

deployment and shortly before his separation,

                                                                       Mr. Hale was

honorably discharged from the Air Force on July 20, 2013.         See Form DD-214,

attached under seal as Exhibit E. Among other decorations, Mr. Hale received an Air

Force Good Conduct Medal. See id.



      D.      Moral Injury

      As Dr. Lynch describes at length in his report, “[t]here are an increasing

number of PTSD cases that are being processed with moral injuries . . . [, which] ‘has

recently emerged in the research literature as a separate aspect of trauma exposure,

distinct from [PTSD].’”   Lynch Rep. at 13 (citation omitted).     The harm to the

individual derives from “perpetrating, failing to prevent, bearing witness to, or

learning about acts that transgress deeply held moral beliefs and expectations.” Id.

As Dr. Lynch describes, many service members report struggling with having

followed orders with which they were morally uncomfortable. Indeed, several of Mr.

Hale’s friends and supporters detail their own similar struggles in their letters,

unprompted.    See, e.g., Ltrs. of Sarah Jones (describing her veteran husband’s

struggle to reconcile some of the actions he had to take in combat) (Exhibit C); Mary

Wright (retired Colonel who served 29 years in the Army describing resigning due to

opposition to claimed basis for war on Iraq), attached as part of Exhibit F; James

Hard (veteran describing “the moral and ethical dilemma faced by those who serve in

the military and are put in the circumstances of taking the lives of others) (Exhibit
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F); Brock McIntosh (veteran describing suicide of mutual friend and veteran due to

moral injury) (Exhibit F); Jim Wohlgemuth (Vietnam veteran describing

“gratefulness” to whistleblower Daniel Ellsberg for shedding light on mistakes of

Vietnam) (Exhibit F); Lisa Ling (veteran describing her own inability to imagine “that

the same skills used to help people . . . would be used to kill innocents on the other

side of the world”) (Exhibit F).




                               Ultimately, Mr. Hale could not reconcile the two. He

felt he needed to act to, in part, assuage his own guilt about the killings in which he

had participated.

                                       Ultimately, he believed that he could make a

difference in how the U.S. drone program was deployed, particularly with respect to

innocent civilians, by leaking the classified documents that are the subject of the

superseding indictment. See Ltrs. of Amy Davis (“He saw the drone program as

injustice—as more lives being stolen in the darkness—and he couldn’t stand for it. . .

. he acted as he felt he had to if it would save innocent lives.”) (Exhibit C); Jess

Radack (“He did not disclose information for fame, profit, or revenge. He did so

because he believed it was in the public’s interest to know that the government was

using an overly broad terrorist watch-list for lethal targeting, underreporting civilian



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drone casualties, and overstating the surgical precision of drone strikes—all concerns

that were later documented and validated . . .”) (Exhibit C); Janet Tran (“He was

motivated by something many veterans who return from war must face: a guilty

conscience.”) (Exhibit C).

      E.     The lengthy prosecution of Daniel Hale

      The earliest publication of a document Mr. Hale provided to the reporter was

in July 2014. See Superseding Indictment, Dkt. No. 12, ¶ 32. On August 8, 2014, the

same day as his last day of work as a contractor for the National Geospatial-

Intelligence Agency, Mr. Hale’s home in northern Virginia was searched by the FBI.

See id. ¶ 39; PSR ¶ 115. No further investigative steps (prior to trial preparation

after an Indictment was returned) appear to have been taken after 2015. But no

prosecution materialized until 2019, nearly five years after the home search and four

years after the investigation was complete. See Dkt. No. 11 (Mr. Hale arrested on

May 9, 2019).

      Mr. Hale attempted to make a life for himself. He started school in New York

in August 2014, but could not focus due to the strain of what he believed to be his

impending prosecution. PSR ¶ 115. He moved to Nashville and worked in kitchens

in the area. He describes the months before his May 2019 arrest in Nashville as some

of his happiest, when he had allowed himself to settle a bit. He was working in a

celebrated restaurant with co-workers who felt like family. PSR ¶ 142.

      After Mr. Hale’s arrest, this prosecution dragged on for another two years.

These delays, as recounted above in Section II, were not driven by the defense:

Rather, the nature of CIPA litigation pushed the original trial date out twice, and
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then, of course, the unforeseen coronavirus pandemic resulted in a year of additional

delays.

      Since his arrest, Mr. Hale’s deterioration has been self-evident. Long prone to

self-medicating with alcohol and marijuana, Mr. Hale was arrested for driving under

the influence on the same night as his initial appearance in Tennessee. Just as this

Court may have suspected, Mr. Hale’s friends have watched him crumple under the

strain of this prosecution. In mid-2019, Mr. Hale relocated to Washington, D.C., to

focus on his case.    He moved in with his friend and government-transparency

advocate Jesselyn Radack, who writes that “[h]e barely left his room, did not eat, did

not interact with others, and had insomnia and erratic sleep patterns.”        Ltr. of

Jesselyn Radack (Exhibit C).

      Despite his mental health struggles, Mr. Hale found work quickly in the

restaurant industry. PSR ¶¶ 140-135. He worked steadily. But, as his close friends

describe, he “continued to deteriorate.” Ltr. of Jesselyn Radack. “[Daniel] became

emaciated. He quit shaving and appeared disheveled. . . . His dread seemed all-

consuming.” See id. This Court witnessed the same, regularly inquiring into Mr.

Hale’s mental health over the course of this prosecution and ordering mental health

treatment at the direction of the Pretrial Services Office.

      Mr. Hale’s friends stepped in to support him. After he lost his job when his

October 2020 motorcycle accident made it physically impossible for him to work in a

restaurant kitchen, PSR ¶ 134, a friend helped him apply for and obtain disability

through the V.A. See id.; Ltr. of Lisa Ling (Exhibit F). They did so because they have



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seen another side of Mr. Hale, one not necessarily reflected in the narrative of this

case: He was a volunteer connecting with younger veterans struggling to get back on

their feet who “cared immensely about making sure that they were fed, clothed and

housed, [and] also that they felt loved and cared for.” Ltr. of Noor Mir (Exhibit C).

He was a friend to the homeless men and women near his house, to whom he would

bring groceries, water and sanitary supplies even when “he had little to nothing to

spare.” Id. If he stayed with you for a visit, “you could count on a gourmet meal, or

waking up to him cleaning and organizing everything in sight.” Id. He was a

caretaker to those around him, even when he himself was struggling, often showing

his affection for others through cooking. See Ltr. of Amy Davis (“During a time when

I constantly felt like I was drowning, Daniel made sure our apartment was clean, the

cat was taken care of, and I had something to eat.”) (Exhibit C); Ltr. of Jesselyn

Radack (“Despite these crushing burdens, Daniel worked multiple jobs, cooked meals

for our family, and attended to assorted neighborhood pets.”) (Exhibit C). His kind

and unassuming manner helped in make friends in unexpected places. See Ltr. of

Cynthia George (describing a devoted friendship with Mr. Hale that grew out of her

agreeing with a mutual friend to care for his cat after his arrest in May 2019) (Exhibit

C). And, though it may seem a small thing, Mr. Hale is a doting parent to his beloved

cat Leila. See id. (“Cats do truly experience loss and Leila is very depressed and

suffers whenever she is separated from [Mr. Hale].”). At the time his bond was

revoked, Mr. Hale was crushed to be separated from Leila without warning.




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         Mr. Hale tended and maintained these deep friendships even as he struggled

through the years of this prosecution. His upbringing left him without the resiliency

and coping skills that might have helped him get through difficult circumstances. See

Lynch Rep. at 14. Nevertheless, he has continued to seek help when he has struggled.




                                                                                .

         In custody since his bond revocation, however, Mr. Hale has not received

mental health counseling. Such counseling is not offered through the Alexandria jail,

nor through the Bureau of Prisons. Medication for mental health disorders, if a

defendant wants to take them, is all that is offered.



                                Long-term therapy would be most effective at helping

Mr. Hale adjust to life after this case, which has consumed him for the last seven

years.

V.       Sentencing Argument

         A sentence of between 12 and 18 months is sufficient but not greater than

necessary for at least three reasons: First, Mr. Hale’s personal history, as recounted

above, demonstrates the significant role that his                    upbringing, his

longstanding struggles with mental health, and the trauma from his role in the drone

program played in contributing to his conduct. Second, Mr. Hale’s offense—the

release of 17 secret and top secret documents out of moral conviction for no personal

gain—is not aggravated compared to that of other defendants convicted under similar
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statutes. Third, a review of sentences imposed for similar conduct demonstrates that

the Guidelines applicable here are far above what courts have deemed warranted.

      Moreover, as the Supreme Court has recognized, “[o]ur Nation has a long

tradition of according leniency to veterans in recognition of their service, especially

for those who fought on the front lines.” Porter v. McCollum, 558 U.S. 30, 43 (2009)

(reversing and remanding due to counsel’s failure to adduce evidence of military

service in mitigation). Mr. Hale’s service undoubtedly qualifies. Not only did he

volunteer to serve in the military when our country was actively engaged in two wars,

but he served in a role in the drone program that, while not directly in combat, is now

widely associated with PTSD and exactly the sort of moral injury from which Mr.

Hale suffers. It is no response to argue, as the government surely will, that Mr. Hale’s

subsequent conduct renders his service irrelevant. Rather, it was the government

that placed Mr. Hale, knowing his fragile mental state and his mental health history,

into the drone program—which exacerbated the conditions from which he already

suffered. The fact that the government did so does not excuse the offense, nor does

the fact that those conditions almost certainly contributed to Mr. Hale’s decision to

engage in the offense conduct. But that backdrop explains why this Court should not

ignore Mr. Hale’s service in determining the appropriate sentence.           Mr. Hale

voluntarily served his country, he did so ably, and he did so in a war zone resulting

in adverse effects from which he continues to suffer to this day. The Court should not

ignore this country’s “long tradition” of honoring such service in considering an

appropriate sentence.



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      A.     The Sentencing Guidelines Are Not Entitled to Deference
             Where, as Here, the Guideline is Not Based on Empirical
             Evidence and is Directed at Classic Espionage Rather than
             Media Leaks.

      The advisory Sentencing Guideline range is entitled to little weight in the

§ 3553 analysis on these facts for three distinct reasons. First, the Guideline for the

instant offense defers entirely to an Executive Branch determination of a document’s

classification level, thus tying the suggested sentence for an offense to sometimes

wrong and very often stale determinations of likely harm to national security. In

other words, the Sentencing Commission accepted the government’s determination

that any document labeled Top Secret “reasonably could be expected [if released

without authorization] to cause exceptionally grave damage to the national

security”—and calibrated the sentence for releasing such documents accordingly. 8

But, as the facts of this case show, the assumption that such determinations are

accurate was incorrect.     The documents in this case, while highly relevant to

informing American citizens’ knowledge about actions taken by their government,

caused no harm to national security by the time they were released because—as the

defense expert (and former top CIA classification expert) has explained—the basis for

their classification had almost entirely eroded by the time of their disclosure.

      Second, the empirical basis for the Guideline governing § 793—specifically,

sentencing practices before the Guideline was written in 1987—does not include

“leak” cases. Instead, the only cases that were prosecuted under § 793 prior to 1987


8See Exec. Order No. 13526, 75 Fed. Reg. 1013 (Dec. 29, 2009) § 1.2(1) (defining “Top
Secret”).

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were prosecutions of “spies and saboteurs,” and these true espionage cases bear little

resemblance to “leak” cases that are now commonly prosecuted under §793.

      And third, the Sentencing Guideline applicable here has been almost uniformly

disregarded by other courts—at least outside of true espionage cases—and is

therefore entitled to little deference because reliance on such a Guideline increases

rather than avoids unwarranted sentencing disparities.

             1.     The Commission’s Deference to the Executive Branch’s
                    Classification Determination is Misplaced Where, as Here,
                    the Sensitivity of the Information Was Drastically
                    Reduced by the Passage of Time.

      The offense level in this case is determined pursuant to USSG § 2M3.3, which

sets the offense level on the basis of the government’s classification determination.

The reasoning for doing so, according to the Commission, is set forth in the

commentary to USSG § 2M3.1. See USSG § 2M3.3 App. Note 1. That Guideline, in

turn, quotes the definition of “Top Secret” information (information that, if disclosed

“could reasonably be expected to cause exceptionally grave damage to the national

security”), see USSG § 2M3.1 App. Note 1, and notes that the offense level is guided

by “the assumption that the information at issue bears a significant relation to the

nation’s security, and that the revelation will significantly and adversely affect

security interests.” Id., App. Note 2. Where, however, the information does not

actually meet that threshold despite its classification marking, the Commission

recognizes that “a downward departure may be warranted.” Id.

      This is just such a case. As noted in the defense Motion to Compel Production

of Evidence of Actual Harm, Dkt. No. 209, no evidence of harm has ever been


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produced in this case despite numerous documents bearing Secret and Top Secret

designations having been disclosed six to seven years ago. Each of those disclosures,

supposedly, could reasonably have been expected to have caused “serious damage” or

“exceptionally grave damage” to national security. Nonetheless, the government has

acknowledged that it has no evidence of any actual harm. And it has acknowledged

that it never performed any damage assessment of Mr. Hale’s disclosures, despite the

existence of Intelligence Community Directive (“ICD”) 732, which requires such an

assessment (and despite a pre-existing practice in the intelligence community of

always performing damage assessments following unauthorized disclosures). See

Exhibit B to Dkt. No. 209 (ICD 732) ¶ 2; Id. Exhibit C (Decl. of Harry P. Cooper, Jr.)

¶¶ 10-11. The one exception to that requirement, according both to ICD 732 and to

defense expert Harry P. Cooper, Jr., is if there is a determination that no damage

occurred. See id. Exhibit B. ¶ 2 (assessment required if disclosure “may cause damage

to U.S. national security”); id. Exhibit C ¶¶ 10-11 (damage assessments are

performed as a matter of course, but “occasionally” not performed where “it can be

readily determined that no damage resulted.”)

      Moreover, according to Mr. Cooper’s attached Declaration regarding Mr. Hale’s

disclosures, the documents Mr. Hale released were what he would call “tactical”

documents, the sensitivity of which for national security purposes decreased

drastically within days or weeks of their creation. See Cooper Declaration, attached

as Exhibit G ¶ 9. Mr. Cooper’s expert opinion is that, by the time Mr. Hale released

the documents, generally about two years after their creation dates, their release was



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likely cause little to no harm to national security. Id. ¶¶ 8-11. Of course, Mr. Cooper

is extraordinarily experienced in the field of national security information

classification, but importantly, his opinion is also corroborated by all the known facts:

Despite the release of numerous documents, no evidence of harm exists from their

disclosure, and the intelligence community decided not even to do a damage

assessment despite the established practice of doing so unless no harm occurred.

      Given the lack of actual harm arising from Mr. Hale’s disclosures, this is

exactly the sort of case the Sentencing Commission envisioned when it noted that a

downward variance may be warranted in cases where its assumption, based on a

document’s classification level, “that the revelation will significantly and adversely

affect security interests” proves untrue. 9

             2.     The Empirical Evidence on Which the Relevant
                    Sentencing Guideline Is Based Is Flawed Because the
                    Government Now Prosecutes a Wholly Different Type of
                    Cases Under § 793 Than it Did Before the Guidelines Were
                    Enacted.

      As the Supreme Court has explained, Congress established the Sentencing

Commission “to formulate and constantly refine national sentencing standards.”

Kimbrough v. United States, 552 U.S. 85, 108 (2007). In its initial development of a

sentencing system, the Commission took “an empirical approach that used as a


9 To be clear, this is not to fault the government for over-classifying information that
does not merit classification (though that may occur). The issue raised here is that
security markings generally remain in force for 25 years, despite the passage of time
that often renders the information harmless from a national security perspective
much sooner. Because intelligence agencies lack sufficient resources to routinely
review and declassify stale information, these markings remain in effect where, as
here, the information is not likely to cause substantial harm if released.

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starting point data estimating pre-guidelines sentencing practice” drawn from data

including 10,000 prior federal criminal sentences. U.S.S.G., Ch. 1, Pt. A, 1.3 (Nov.

2018). Given this background, the Supreme Court has held that the weight due a

particular Guideline depends on whether the Commission acted in the “exercise of its

characteristic institutional role.” Kimbrough, 552 U.S. at 109. The Commission’s

institutional role has two basic components: (1) reliance on empirical evidence of pre-

Guidelines sentencing practice; and (2) review and revision in light of judicial

decisions, sentencing data, and comments from participants and experts in the field.

Rita v. United States, 551 U.S. 338, 349-50 (2007). Only the first of these roles is

relevant because the Guideline at issue—USSG § 2M3.3—has never been amended

since its 1987 inception. 10

       Unfortunately, “not all Guidelines are tied to empirical evidence.” Gall v.

United States, 552 U.S. 38, 46 n.2 (2007). When the Guidelines are not based upon

an empirical approach, the sentencing court is not presented with the “ordinary case,”

in which “the Commission’s recommendation of a sentence range will ‘reflect a rough

approximation of sentences that might achieve §3553(a)’s objectives.’” Kimbrough,

552 U.S. at 109 (quoting Rita, 551 U.S. at 350). In such cases, it is not an abuse of

discretion to conclude that the Guideline yields a sentence “greater than necessary to




10 According to the Sentencing Commission, § 2M3.3 has been amended only once
since its adoption in 1987, pursuant to Amendment 481 in 1993.              See
www.ussc.gov/guidelines/2018-guidelines-manual/annotated-2018-chapter-2-l-
x#2m32. That amendment added an additional statute to the Guideline’s purview
but did not substantively amend it. See www.ussc.gov/guidelines/amendment/481.

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achieve § 3553(a)’s purposes, even in a mine-run case,” Kimbrough, 552 U.S. at 101,

or that “the case warrants a different sentence regardless,” Rita, 551 U.S. at 351.

      The Guideline applicable here is just such a case. Section 793(e) covers an

extraordinarily broad range of conduct, and the type of conduct presented here—a

“leak” to a journalist designed to inform public debate on an issue of national

importance—was almost never prosecuted before the Guidelines were enacted. See

Motion to Dismiss the Indictment, Dkt. No. 53, at 16. That is because, as initially

enacted, the Espionage Act was intended by Congress for use against “spies and

saboteurs.” Id. at 14 (quoting Senator managing the Espionage Act on the Senate

Floor prior to passage assuring colleagues that nobody “innocent of any intent to aid

the enemy” would be prosecuted under it); id. at 14-15 (quoting Attorney General’s

assurance to Congress, prior to enacting the Espionage Act, that only spies, saboteurs

and the like would be prosecuted under it). And in its first 75 years the Espionage

Act was used only against such defendants, whose offenses are unambiguously

designed to harm the United States (with exceedingly rare exceptions, such as the

unsuccessful prosecution of Daniel Ellsberg for disclosing the Pentagon Papers). Id.

at 16 (in first 75 years after the Espionage Act became law in 1917, there were only

two successful prosecutions of media sources, one of which was later pardoned, but

there have been at least 18 since 2009).

      It is, therefore, undisputable that the cases upon which the Sentencing

Commission relied for its empirical analysis of Espionage Act sentencing practices

are categorically different than “leak” cases such as the instant case. Plainly, the



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Congress that enacted the Espionage Act saw cases against spies, saboteurs, and

those who intended to “aid the enemy” as categorically different than those who

release protected information for other reasons, and it does not even appear that they

intended to criminalize the latter category of cases (although the language they

ultimately adopted was so inartfully written that it made no such distinction and

such prosecutions eventually occurred under it).      And, as shown below in the

discussion of comparison cases, there appears to be near uniform recognition among

sentencing judges that such prosecutions present a different case for sentencing

purposes than true espionage cases, and they almost always result in lower

sentences.   Indeed, the government appears to tacitly acknowledge this by not

seeking a within-Guidelines sentence. See Govt Position on Sentencing, Dkt. No. 227.

Accordingly, the empirical evidence on which USSG § 2M3.3 is based renders the

advisory sentencing range particularly unhelpful as a starting point for sentencing

cases that do not involve classic espionage.

             3.     A Central Purpose of the Sentencing Guidelines is to
                    Avoid Unwarranted Sentencing Disparities, But Where a
                    Particular Guideline is Not Regularly Followed,
                    Adherence to it Would Frustrate that Goal.

      “Congress’ basic goal in passing the Sentencing Act [and adopting the

Sentencing Guidelines] was to move the sentencing system in the direction of

increased uniformity.” United States v. Booker, 543 U.S. 220, 253 (2005). See also

United States v. Finley, 531 F.3d 288, 293 (4th Cir. 2008) (“[a]s the Supreme Court

has made clear, the primary purpose of the Sentencing Guidelines, even when

advisory, is to ‘avoid excessive sentencing disparities’” (quoting Booker)). As the


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discussion of comparison cases below makes clear, however, courts have regularly

disregarded the advisory Guideline range and imposed very substantial downward

variances in Espionage Act cases that involve leaks to the media rather than classic

espionage. Accordingly, on these facts, deference to the advisory Guideline range

would frustrate, rather than foster, Congress’s core purpose in enacting the

Guidelines in the first place. For this additional reason, therefore, the advisory

Guideline range should be given little deference in this case.

      B.     The Nature and Circumstances of the Offense Are Unusual for
             an Espionage Act Prosecution Both Because the Offense Caused
             No Harm and Because Mr. Hale’s Motive Was Not to Harm the
             United States.

      As already noted, and as set forth in more detail in Harry Cooper’s Declaration

(Exhibit G), Mr. Hale’s offense involved documents that were unlikely to seriously

harm national security by the time they were released years after their creation.

Indeed, the government has conceded that no harm occurred as a result of Mr. Hale’s

offense. This differentiates it from many cases involving actual espionage, and even

from many involving those who have leaked to the media. In the case of Jeffrey

Sterling, for example, who was tried in this court, convicted by a jury, and sentenced

to 42 months, the very first words of the government’s Memorandum in Aid of

Sentencing were the following quotation from then-National Security Advisor

Condoleeza Rice: “I was deeply concerned because this was not just a sensitive

program, but it was one of the only levers that we believed we had, that the President

had, to try to disrupt the Iranian nuclear program.” United States v. Sterling¸1:10-

cr-485 (LMB), Dkt. No. 464, at 1. The government’s memo went on to explain that


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the program Mr. Sterling compromised with his disclosure related to “one of the

highest priorities of the Bush administration” and that disclosing the program had

“endanger[ed] lives and national security by compromising one of the most important,

closely held, and sensitive intelligence operations of [Ms. Rice’s] entire tenure as

National Security Advisor.” Id. at 2. Indeed, according to the government, Mr.

Sterling’s disclosure of the program to a reporter “resulted in substantial damage to

national security, and placed in harm’s way two human assets, their families, and

those who worked with them.” Id. at 4.

      As the government’s sentencing presentation in Sterling makes abundantly

clear, the quantum of harm to national security caused by the offense conduct under

§ 793 is centrally relevant to the nature and circumstances of the offense, just

punishment, and the other § 3553(a) sentencing factors. See id. (concluding the four-

page description of the harm occasioned by the offense conduct by arguing that, “[a]s

such, the defendant deserves to be sentenced to a significant and lengthy term of

imprisonment”)

      Similarly, in the case of John Kiriakou, the government supported its

arguments regarding the seriousness of the offense (in a case involving the disclosure

of the identity of a covert agent, resulting in a Guideline range of 97-121 months

including an enhancement for obstruction of the investigation) 11 by reference to the

harm caused by the defendant’s conduct, arguing that “the disclosure of the identity


11 The Court’s finding regarding the Guideline range in Kiriakou and the application
of the obstruction enhancement can be found in the sentencing transcript. See United
States v. Kiriakou¸1:12-cr-127 (LMB), Dkt. No. 130, at 4, 9.

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of Covert Officer A is particularly compelling from a damage perspective [because it

caused] grave damage to national security, but also to Covert Officer A’s personal

safety and life.” United States v. Kiriakou¸ No. 1:12-cr-127 (LMB), Dkt. No. 124, at

5. Indeed, Mr. Kiriakou’s disclosures related not just to Covert Officer A, but also to

a second covert agent, Covert Officer B, and “dozens of CIA officers, including

numerous covert officers of the National Clandestine Service,” beyond the two

specifically charged. Id. at 6. The harm caused by Mr. Kiriakou’s conduct was, in

fact, the principal aggravating fact that the government argued at sentencing. Id.

      Considering its positions in Sterling and Kiriakou (and the Court’s obligation

to consider the nature and circumstances of the offense), the government can hardly

be heard to now claim that the lack of actual harm caused by Mr. Hale’s conduct is

irrelevant to sentencing. Rather, while the absence of harm is not a defense to the

charge, and while it does not entirely negate the purposes of sentencing, it is plainly

relevant to considering the seriousness of the offense, and to evaluating the need for

incarceration as compared to sentences imposed in other cases involving violations of

the same statute.

      In a similar vein, Mr. Hale’s motive in disclosing the documents to a reporter

distinguishes this case from espionage prosecutions in which a defendant

intentionally sets out to harm the United States or to aid an adversary, and even

from those defendants who commit the offense for monetary or other personal

reasons. The facts regarding Mr. Hale’s motive are clear: He committed the offense

to bring attention to what he believed to be immoral government conduct committed



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under the cloak of secrecy and contrary to public statements of then-President Obama

regarding the alleged precision of the United States military’s drone program. 12

Indeed, Mr. Hale’s decision to commit the offense could not have been more at odds

with his personal interests: He had highly marketable employment qualifications as

a civilian with a high-level security clearance, and he knowingly threw that away by

releasing classified information to a reporter. 13 Again, the government acknowledged

in Sterling that motivations such as Mr. Hale’s are distinct and mitigating as

compared to those who disclose information for other reasons.       Specifically, the

government argued at sentencing that Mr. Sterling was not “motivated by a desire to

expose government malfeasance. Nothing could be further from the truth. . . . the

defendant was no whistleblower. . .” United States v. Sterling¸1:10-cr-485 (LMB),

Dkt. No. 464, at 16-17. Rather, the government argued, he committed the offense “to

serve his own vindictive means.” Id. at 17. Specifically, the government noted that

Mr. Sterling had earlier praised the program he later “blew the whistle” on, but then

disclosed the program to retaliate at the government “once it was clear that his

[employment-related] litigation efforts were not going to succeed.” Id. at 16. Thus,

in Sterling, the government held out that very motivation as a factor that would

diminish the seriousness of the offense in that case were it true. It can hardly now


12  To a lesser extent, and as explained more fully in Dr. Lynch’s Report (Sealed
Exhibit B) it appears that Mr. Hale’s conduct was also motivated by a desire to atone
for his own participation in what he considered immoral, unlawful and lethal military
action.
13It was also almost certain that his conduct would eventually be discovered, as it
was.

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claim that Mr. Hale’s genuine motivation to act as a whistleblower regarding what

he perceived to be government malfeasance—whether one agrees with his assessment

or not—is irrelevant to sentencing.

      Finally, the Court need not rely solely on these defense arguments to find that

this case falls at the low end of the spectrum of Espionage Act violations in terms of

the importance of the prosecutorial interests at stake.      Shortly before trial, the

government produced in discovery a document indicating that some or all of the

years-long delay between the conclusion of the FBI’s investigation in this case and

the decision to prosecute was because the prosecution team lacked the approval of

superiors within DOJ. See Defense Classified Appendix 1 (filed separately with the

CISO). 14 Further, it shows that the decision to prosecute was finally made only after

a change in supervisory personnel within the DOJ National Security Division.




14 This is contrary to what the government argued to this Court earlier, when the
defense sought a continuance and argued that “[t]he government until recently has
not acted as if it was important to bring this case to trial quickly,” noting the delay
between the investigation ending in 2015 and the initiation of charges in 2019. See
Trans. of Mtn Hrg., Nov. 10, 2020, at 8. In response, the government advised the
Court as follows:

             The idea that the government sat on its hands for years is
             ridiculous. Having been the prosecutor on the case since
             the beginning, I can tell you that we were struggling
             throughout to try to deal with the very complex problems
             posed by the theft of information impacting many different
             components of the intelligence community.

Id. at 9. The Classified Appendix submitted with this memo demonstrates the
inaccuracy of this statement. Rather, it appears that there was dissension within the
Department of Justice as to whether there was a sufficient federal prosecutorial
interest in this case to initiate charges.

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        C.     The Sentence Requested Here is Supported by the Sentences
               Imposed in Previous Cases.

        A review of previous sentences in comparable Espionage Act prosecutions

supports a sentence of 12 to 18 months in this case. The two most directly comparable

cases to be prosecuted in this court, Sterling and Kiriakou, received sentences of 42

months and 30 months, respectively. But, as already noted, the facts of both cases

were substantially more aggravated in several important respects. Mr. Sterling not

only denied responsibility and went to trial, but he also compromised one of the most

sensitive covert operations run by the United States government as well as the

identities of two human assets within foreign-adversary governments who had

worked covertly for the United States (resulting in a Guideline range, after trial, of

235-293 months). He did so not to inform the public of government wrongdoing but

as retribution against his former employer. Similarly, Mr. Kiriakou was convicted of

revealing the identities of highly covert agents “to advance his private pecuniary

interests,” 15 and was found to have obstructed the investigation into the offense

(resulting in a Guideline range of 97-121 months). Moreover, nothing in the public

record of either case suggests that Mr. Sterling or Mr. Kiriakou struggled with the

sort of mental health challenges that Mr. Hale has faced throughout his life (much

less that the United States exacerbated those conditions prior to the offense conduct,

as it did in Mr. Hale’s case by putting him to work in a controversial, secretive and

lethal program after diagnosing him with those serious conditions). In short, the



15   See United States v. Kiriakou¸1:12-cr-127 (LMB), Dkt. No. 124 at 2.

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      While each of the above cases is unique in both its facts and sentencing factors,

in conjunction they show that courts consistently impose sentences in Espionage Act

cases far below that suggested by the advisory Guideline range where the offenses

involve leaks to the media or otherwise do not classic involve spying and sabotage.

      D.     Consideration of the Types of Sentences Authorized by
             Congress Under § 793 Suggests that Sentences Near the
             Statutory Maximum—As the Guidelines Here Suggest—Should
             be Reserved for the Worst Violations.

      Consideration of the kinds of sentences statutorily available, see 18 U.S.C.

§ 3553(a)(3), also supports the sentence requested here. In the case of a violation of

18 U.S.C. § 793(e), Congress authorized courts to impose sentences ranging from

probation to ten years in prison. In other words, Congress directed courts to consider

sentences as low as probation in cases falling toward the low end of the spectrum of

possible violations of the statute, all of which are willful felony offenses. Sentences

near the high end of the authorized range, on the other hand, should be reserved for

the worst violations—defendants who cause grave harm to national security, who

commit the offense solely for personal gain or a desire to harm the United States, and

who lack any of the mitigation presented here. In other words, this § 3553 factor, like

all others with the exception of the Sentencing Guidelines, supports a sentence

toward the lower end of the range statutorily available—and dramatically lower than

that recommended by the advisory Guideline range.




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      E.     Specific and General Deterrence Do Not Support a Lengthy
             Sentence; Rather, They are Accomplished Simply By
             Prosecution and the Fact of a Conviction.

      Specific deterrence is already accomplished in this case by the fact of Mr. Hale’s

prosecution and conviction.      As a felon who admittedly transmitted classified

information unlawfully, he will never again have access to classified or sensitive

government information, and will never again have an opportunity to commit an

offense of this type. As Dr. Lynch explains it, Mr. Hale’s “risk [of reoffending] is

negligible.” Lynch Report at 2, 14 (Sealed Exhibit B).

      Moreover—aside from the fact Mr. Hale’s conviction itself will prevent him

from ever again committing the felony he has shown any propensity to commit—the

Sentencing Commission’s own recidivism statistics show that a person with no prior

criminal history such as Mr. Hale presents a minimal risk of reoffending. In the

Sentencing Commission’s May 2004 report entitled “Recidivism and the ‘First

Offender,’” for example, the Commission examined those offenders, like Mr. Hale,

who have zero criminal history points (i.e., the low end of Criminal History Category

I), and compared those offenders to other Category I offenders as well as to offenders

in higher Criminal History Categories. See Recidivism and the “First Offender,”

United States Sentencing Commission, May 2004, at 4-5. The results demonstrate

that the re-conviction rate of those like Mr. Hale with zero criminal history points is

among the lowest studied—about 50% lower than offenders in Criminal History

Categories II through VI. See id. Exhibit 6. 16


16 Indeed, a review of Mr. Hale’s record in its entirety suggests that his only realistic
risk of recidivism of any type would involve substance-use-related misdemeanors,
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      With respect to general deterrence, research indicates that increases in the

severity of punishment are far less important to producing deterrent effects than the

likelihood of some punishment. See Wright, Valerie, Ph.D., Deterrence in Criminal

Justice: Evaluating Certainty vs. Severity of Punishment, at 1 (The Sentencing

Project, Nov. 2010). 17 Indeed, virtually no empirical data suggests that lengthier

sentences achieve more general deterrence than shorter sentences. Instead, findings

regarding general deterrence are relatively settled:

             The existing data show that in the absence of the threat of
             punishment for criminal conduct, the social fabric of society would
             readily dissipate; crime would escalate and overwhelmingly
             frustrate the capacity of people to lead happy and fulfilled lives.
             Thus, general deterrence works in the absolute sense: there is a
             connection between criminal sanctions and criminal conduct.
             However, there is insufficient evidence to support a direct
             correlation between higher penalties and a reduction in the crime
             rate.… It is counter-intuitive to suggest that higher penalties will
             not reduce the crime rate. However, the evidence is relatively
             definitive.

Mirko Bagaric, A Rational Theory of Mitigation and Aggravation in Sentencing: Why

Less Is More When It Comes to Punishing Criminals, 62 Buff. L. Rev. 1159, 1202-03

(2014) (footnotes omitted).    General deterrence, therefore, “does not require a




such as his pending charge in Tennessee. But that sort of recidivism risk, which is
commonly addressed in sentences for offenses such as driving under the influence,
almost uniformly results in a sentence measured in days rather than months or years.
Even considering that risk, specific deterrence for that unresolved misdemeanor
conduct would not support a sentence in this case longer than what Mr. Hale has
already served.
17  Available at https://www.sentencingproject.org/publications/deterrence-in-
criminal-justice-evaluating-certainty-vs-severity-of-punishment/.

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particularly burdensome penalty, merely one that people would seek to avoid,” which

“could be satisfied by a fine or a short prison term.” Id. at 1205.

      Considering that research in the context of the instant case, there can be no

question that a person with an otherwise clean record and a top-level security

clearance such as Mr. Hale “would seek to avoid” the kinds of consequences Mr. Hale

faces as a result of his offense regardless of any term of incarceration he might receive:

the loss of gainful employment and a lucrative career trajectory, a felony conviction

(and all the lifelong consequences that go with it), and a lengthy term of federal

supervision with the threat of incarceration for non-compliance. 18

      Accordingly, here, a sentence of 12 to 18 months is more than sufficient to

accomplish both specific and general deterrence.




18 As the Supreme Court has noted, probation is itself a significant punishment with
an attendant deprivation of liberty. In affirming a sentence of probation in Gall, the
Supreme Court recognized that while probationary sentences do not require
incarceration, “[o]ffenders on probation are nonetheless subject to several standard
conditions that substantially restrict their liberty.” 128 S. Ct. at 595. The Court then
listed some of these restrictions:

      Probationers may not leave the judicial district, move, or change jobs
      without notifying, and in some cases receiving permission from, their
      probation officer or the court. They must report regularly to their
      probation officer, permit unannounced visits to their homes, refrain
      from associating with any person convicted of a felony, and refrain from
      excessive drinking. Most probationers are also subject to individual
      “special conditions” imposed by the court.

Id. at 595-96 (citation omitted).

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VI.    The defense objects to the vague and unnecessarily broad proposed
       Standard Condition of Supervision No. 13.

       The defense objects to proposed Standard Condition No. 13 because, as worded,

it is breathtakingly broad and, thus, improperly delegates a judicial function to the

probation officer. PSR at 18. Standard conditions are laid out in the Sentencing

Guidelines, USSG § 5D1.3(c), but are neither statutory nor mandatory. See 18 U.S.C.

§§ 3563 & 3583 (not listing broad notification provision among statutory conditions);

United States v. Booker, 543 U.S. 220, 259-60 (2005) (Sentencing Guidelines are not

mandatory). Delegating this broad decision-making power over Mr. Kelley’s liberty

on supervised release is impermissible. See, e.g., United States v. Shiraz, 784 F. App’x

141, 143-44 (4th Cir. 2019) (court’s delegation to probation officer of what type of

business defendant could operate was improper).

       Moreover, this is not a case that naturally calls for notification of third parties

under specific situations, such as a fraud and drug diversion cases often do. That

said, to the extent that some kind of notification is deemed necessary, the defense

would consider agreeing to a more narrowly tailored requirement. Faced with similar

objections this Court and Judge Ellis have agreed to narrow Standard Condition No.

13 to account for the specific conduct in the individual defendant’s case. See United

States v. Kelley, No. 1:20-cr-82-LO, Dkt. No. 56 (E.D. Va. May 10, 2021); United States

v. Clark, No. 1:19-cr-332-TSE, Dkt. Nos. 38 & 41 (E.D. Va. Jan. 29, 2021).

VII.   CONCLUSION

       Accordingly, the defense respectfully asks that this Court impose a sentence of

no more than 12 to 18 months, and a period of supervised release with mental health


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counseling consistent with that recommended by Dr. Lynch. See Lynch Rep. (Sealed

Exhibit B) at 15.

                                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE


      I hereby certify that on July 20, 2021, I will file the foregoing with the Clerk of
Court and serve copies on counsel of record.

                                         _ /s/ ____________
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